Case 2:03-cv-02112-.]PI\/|-tmp Document 330 Filed 07/15/05 Page 1 of 3 Page|D 456

 

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IN TI-IE UNITED STATES DISTRICT coUR:¢\lB) B"' -»% D
FoR THE wESTERN DISTRICT oF TENNESSEE 9%\5
wEsTERN DIv:l:sIoN 05 JUL \5 m

 

TH%MS§QM UJHI
MAx MAY, et al., UHWEQ \E§NHB

Plainti£fs,

v. Nb. 03-2112 Ml/P
NATIONAL .'BANK OF COMMERCE,
a banking corporation organized )
under the laws of the United )
States of America, in its )
corporate capacity and as )
Trustee of the Memphis Equipment)
Company Employea Stock )
Ownership Plan, and LAWRENCE )
SCOTT, an individual resident )
of Cordova, Shelby County, )
Tennessee, )
)
)

Defendants.

 

ORDER DEN'YING DEFENDANT LAWRENCE SCOTT' S COMBINED MOTION AND
MEMORANDUM FOR A CONTIN'UANCE AS MOOT

 

Before the Court is Defendant Lawrence Scott’s Combined
Motion and Memorandum for a Continuance, filed October 28, 2004.
The Court, however, held a non-jury trial in this matter from
November l, 2004, through November 4, 2004. Accordingly, the
Court DENIES the motion as moot.

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30 oRDERED this / lday of July, 2005.

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JON P. MccALLAFW
UN ED STATES DISTRICT JUDGE

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with Ru|e 58 and!or ?Q(a) FRCP on ’

 

   

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.1 ohn 1. Houseal

GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/1emphis7 TN 38103

Kenneth P. Jones

BOURLAND HEFLIN ALAREZ & 1\/1[NOR
5400 Poplar Avenue

Ste. 100

1\/1emphis7 TN 38119

Bobby 1\/1. Leatherman
LEATHERMAN LAW OFFICE
1661 International Place Dr.

Ste. 400

1\/1emphis7 TN 38120

Marc Louis Schatten
GLANKLER BROWN
One Commerce Sq.
Ste. 1700

1\/1emphis7 TN 38103

Dorothy .1. Pounders
POUNDERS & ASSOCIATES
1770 Kirby Pkwy

Ste. 105

1\/1emphis7 TN 38138

Larry Montgomery
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/1emphis7 TN 38103

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.1 eremy G. Alpert
GLANKLER BROWN
One Commerce Sq.
Ste. 1700

1\/1emphis7 TN 38103

.1 ohn .1. Het]in

BOURLAND HEFLIN ALAREZ & 1\/1[NOR
5400 Poplar Avenue

Ste. 100

1\/1emphis7 TN 38119

Honorable .1 on McCalla
US DISTRICT COURT

